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1                 DECLARATION OF SPECIAL AGENT LYNNE ZELLHART
2            I, Special Agent Lynne Zellhart, declare as follows:
3            1.    I am a Special Agent (“SA”) with the Federal Bureau of Investigation (the
4     “FBI”) and have been so employed since 2004. I have participated in the investigation
5     of U.S Private Vaults (“USPV”) and am familiar with all aspects of the investigation.
6            2.    I understand that the boxholders Michael Storc and Jeni Verdon-Pearsons
7     claim that there was $2,000.00 inside their box at USPV. The government did not seize
8     any currency from their box and the government does not possess the funds they claim
9     were situated in their box.
10           3.    There is no video of Tyler Gothier’s box. While there are statements in
11    inventory documents that the inventory of this box was videotaped, those statements are
12    in error.
13           4.    I understand that plaintiffs have stated that USPV was the first time that I
14    conducted an inventory search. While this may be true, and as I testified in my
15    deposition, it does not matter, as the procedure for processing the contents of a box are
16    no different if it is a inventory search or a search pursuant to a search search warrant or a
17    consent search. The “bag and tag” procedures are the same. There are certain protocols
18    that must be followed, including creation of a chain of custody; an evidence log; labels
19    on each item; evidence bar codes; an FD-597 receipt of property and an FD-302,
20    documenting the process. As stated above, I have been employed by the FBI since 2004,
21    and my training, background and experience are set forth in detail in paragraphs 1 and 2
22    of the affidavit for a seizure warrant as to USPV, submitted in March 2021.
23           5.    Since the inventory at USPV has been completed, the government obtained
24    search warrants for dozens of individual boxes that warranted criminal investigations.
25           6.    Agents found firearms, ammunition and fentanyl in boxes during the
26    inventory at USPV.
27    ///
28    ///

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 1         I declare under penalty of perjury under the laws of the United States of America
 2   that the foregoing is true and correct and that this declaration is executed at Los Angeles,
 3   California, on August 9, 2022.
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